Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 1 of 20




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  VICTOR ARIZA,

         Plaintiff,

  vs.

  LSH PLUS LLC, d/b/a KIDS
  ATELIER, a foreign limited liability
  company,

        Defendant.
  ________________________________/

                                            COMPLAINT

         Plaintiff VICTOR ARIZA, through undersigned counsel, sues Defendant LSH PLUS LLC,

  d/b/a KIDS ATELIER, a foreign limited liability company and alleges as follows:

         1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

  Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R.

  Part 36. This is also an action for declaratory and injunctive relief to prevent discrimination which

  includes equal access to an internet website for services, to order merchandise, and to secure

  information about Defendant’s stores online. This is also an action for declaratory and injunctive

  relief to prevent the continuing act of trespass against the Plaintiff’s personal property and for

  compensatory damages to Plaintiff for such trespass. Remedies provided under common law for

  trespass are not exclusive and may be sought in connection with suits brought under the ADA.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 2 of 20




  pursuant to 28 U.S.C. §§2201 and 2202. In addition, this Court has supplementary jurisdiction

  over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff VICTOR ARIZA is a resident of Miami-Dade County, Florida, is sui juris,

  and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

  (“ADAAA”).

         5.      Plaintiff is and at all relevant times has been visually disabled in that he suffers

  from optical nerve atrophy, a permanent eye disease and medical condition that substantially and

  significantly impairs his vision and limits his ability to see. Plaintiff thus is substantially limited

  in performing one or more major life activities, including, but not limited to, seeing, accurately

  visualizing his world, and adequately traversing obstacles. As such, he is a member of a protected

  class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth

  at 28 CFR §§36.101, et seq., and in 42 U.S.C. §3602(h).

         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available screen reader software.

         7.      Defendant is a foreign limited liability company authorized to do business and

  doing business in the State of Florida. Defendant owns and operates a chain of retail stores selling

  to the public children’s designer clothing, shoes, and accessories, including one of the stores

  Plaintiff intended to patronize at 19575 Biscayne Boulevardd, Suite 001, Aventura, Florida.

         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids and services for effective

  communication, including communication in connection with his use of a computer.



                                                    2
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 3 of 20




         9.      Plaintiff frequently accesses the internet.      Because he is significantly and

  permanently visually disabled, in order to effectively communicate and comprehend information

  available on the internet and thereby access and comprehend websites, Plaintiff uses commercially

  available screen reader software to interface with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns

  and operates a chain of stoes selling children’s designer clothing, shoes, and accessories under the

  name “Kids Atelier”. The Kids Atelier stores are open to the public. As the owner and operator

  of these retail stores, Defendant is defined as a place of “public accommodation" within meaning

  of Title III because Defendant is a private entity which owns and/or operates “[A] bakery, grocery

  store, clothing store, hardware store, shopping center, or other sales or rental establishment,” per

  42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

         11.     Because Defendant is a store open to the public, each of Defendant’s physical stores

  is a place of public accommodation subject to the requirements of Title III of the ADA and its

  implementing regulation; 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

         12.     Defendant controls, maintains, and/or operates an adjunct website called

  https://kidsatelier.com (hereinafter the “Website”). One of the functions of the Website is to

  provide the public information on the various locations of Defendant’s stores that sell its

  merchandise throughout the United States and within the State of Florida. Defendant also sells to

  the public its merchandise and goods through the Website.

         13.     The Website also services Defendant’s physical stores by providing information on

  its available products and branded merchandise, tips and advice, editorials, sales campaigns,

  events, and other information that Defendant is interested in communicating to its customers.




                                                   3
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 4 of 20




         14.     Because the Website allows the public the ability to locate Defendant’s physical

  stores, purchase merchandise from Defendant that is also available for purchase in its physical

  stores, purchase gift cards for use in the physical stores, and sign up for an electronic emailer to

  receive offers, benefits, exclusive invitations, and discounts for use in the physical stores, the

  Website is an extension of, and gateway to, Defendant’s physical stores. By this nexus, the

  Website is characterized as an intangible service, privilege, and advantage provided by a place of

  public accommodation as defined under the ADA and thus an extension of the services, privileges,

  and advantages made available to the general public by Defendant through its brick and mortar

  locations and businesses.

         15.     Because the public can view and purchase Defendant’s merchandise that is also

  offered for sale by Defendant in its physical stores, purchase gift cards for use in the physical

  stores, and sign up for an electronic emailer to receive offers, benefits, exclusive invitations, and

  discounts for use in the physical stores, the Website is an extension of, and gateway to, the physical

  stores, which are places of public accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E).

  As such, the Website is an intangible service, privilege, and advantage of Defendant’s brick and

  mortar store locations that must comply with all requirements of the ADA, must not discriminate

  against individuals with visual disabilities, and must not deny those individuals the same full and

  equal enjoyment of the services, privileges, and advantages as are afforded to the non-disabled

  general public both online and in the physical stores.

         16.     At all times material hereto, Defendant was and still is an organization owning and

  operating the Website. Since the Website is open to the public through the internet, by this nexus

  the Website is an intangible service, privilege, and advantage of Defendant’s brick and mortar

  stores that must comply with all requirements of the ADA, must not discriminate against



                                                    4
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 5 of 20




  individuals with visual disabilities, and must not deny those individuals the full and equal

  enjoyment of the services, privileges, and advantages as are afforded to the non-disabled public

  both online and in the physical store. As such, Defendant has subjected itself and the Website to

  the requirements of the ADA.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied,

  Defendant’s physical stores (including the store at 19575 Biscayne Boulevard, Suite 001,

  Aventura, Florida), and to search for the brick and mortar store locations, check store hours and

  merchandise pricing, purchase merchandise, purchase gift cards, and sign up for an electronic

  emailer to receive offers, benefits, exclusive invitations, and discounts for use at the Website or in

  Defendant’s physical stores.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise for use in the

  physical stores, purchase gift cards that can be used in the physical stores, and sign up for an

  electronic emailer to receive offers, benefits, exclusive invitations, and discounts for use in the

  physical stores from his home are important accommodations for Plaintiff because traveling

  outside of his home as a visually disabled individual is often difficult, hazardous, frightening,

  frustrating and confusing experience. Defendant has not provided its business information in any

  other digital format that is accessible for use by blind and visually impaired individuals using the

  screen reader software.

         19.     Like many consumers, Plaintiff accesses numerous websites at a time to compare

  merchandise, prices, sales, discounts, and promotions. Plaintiff may look at several dozens of sites

  to compare features, discounts, promotions, and prices.




                                                    5
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 6 of 20




         20.     During the month of August 2020, Plaintiff attempted on a number of occasions to

  utilize the Website to browse through the merchandise and online offers to educate himself as to

  the merchandise, sales, discounts, and promotions being offered, and with the intent of making a

  purchase through the Website or at one of the Defendant’s stores.

         21.     Plaintiff utilizes screen reader software that allows individuals who are visually

  disabled to communicate with websites. However, Defendant’s Website contains access barriers

  that prevent free and full use by visually disabled individuals using keyboards and available screen

  reader software. These barriers are pervasive and include, but are not limited to:

                 a. Site element like text is not labeled properly to integrate with the screen
                    reader with text is spelled out instead of reading the word;

                 b. Mislabeled links;

                 c. Home page button mislabeled;

                 d. Consistent interference with the screen reader as add repeats over and over;

                 e. Site element like banner with special offers not made accessible for the screen
                    reader;

                 f. Site element like show size is mislabeled as a link and interpreted as a basic
                    number; and

                 g. Mislabeled buttons.

         22.     The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill out

  online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  Although, the Website appeared to have an “accessibility” statement displayed, that “accessibility”


                                                   6
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 7 of 20




  statement still could not be effectively accessed by, and continued to be a barrier to, visually

  disabled persons, including Plaintiff. Plaintiff thus was unable to receive any meaningful or

  prompt assistance through the “accessibility” statement to enable him to quickly, fully, and

  effectively navigate the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same online computer shopping experience,

  with access to the merchandise, sales, discounts, and promotions as provided at the Website and

  for use in the physical stores, as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical stores and to use the Website, but he

  is unable to fully do so as he is unable to effectively communicate with Defendant due to his severe

  blindness and visual disability and the Website’s access barriers. Thus, Plaintiff, as well as others

  who are blind or with visual disabilities, will suffer continuous and ongoing harm from

  Defendant’s intentional acts, omissions, policies, and practices as set forth herein unless properly

  enjoined by this Court.

         26.     Because of the nexus between Defendant’s retail stores and the Website, and the

  fact that the Website clearly provides support and is connected to Defendant’s retail stores for its

  operation and use, the Website is an intangible service, privilege, and an advantage of Defendant’s

  brick and mortar stores that must comply with all requirements of the ADA, must not discriminate

  against individuals with disabilities, and must not deny those individuals the same full and equal

  enjoyment of the services, privileges, and advantages afforded to the non-disabled public both

  online and in the physical locations, which are places of public accommodations subject to the

  requirements of the ADA.



                                                    7
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 8 of 20




          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     On information and belief, Defendant has not created and instituted a Specialized

  Customer Assistance line or service or email contact mode for customer assistance for the visually

  disabled.

          35.     On information and belief, Defendant has not created and instituted on the Website

  a page for individuals with disabilities, nor displayed a link and information hotline, nor created

  an information portal explaining when and how Defendant will have the Website, applications,

  and digital assets accessible to the visually disabled or blind community.




                                                   8
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 9 of 20




          36.     On information and belief, the Website does not meet the Web Content

  Accessibility Guidelines (“WCAG”) 2.0 Level AA or higher versions of web accessibility.

          37.     On information and belief, Defendant has not disclosed to the public any intended

  audits, changes, or lawsuits to correct the inaccessibility of the Website to visually disabled

  individuals who want the safety and privacy of purchasing Defendant’s merchandise offered on

  the Website online from their homes.

          38.     Thus, Defendant has not provided full and equal enjoyment of the services,

  facilities, privileges, advantages, and accommodations provided by and through the Website, in

  contravention of the ADA.

          39.     Further, public accommodations under the ADA must ensure that their places of

  public accommodation provide effective communication for all members of the general public,

  including individuals with disabilities such as Plaintiff.

          40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping websites, such as the Website.

          41.     On information and belief, Defendant is, and at all times has been, aware of the

  barriers to effective communication within the Website which prevent individuals with disabilities

  who are visually disabled from the means to comprehend information presented therein.

          42.     On information and belief, Defendant is aware of the need to provide full access to

  all visitors to the Website.

          43.     The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with disabilities who are visually disabled, including Plaintiff.




                                                    9
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 10 of 20




         44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its website access and operation.

         45.     Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

         46.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

  U.S.C. §§2201 and 2202.

         47.     Plaintiff has retained the undersigned attorneys to represent him in this case, and

  has agreed to pay them a reasonable fee for their services.

                                         Trespass Violations

         48.     Plaintiff utilizes his computer to access websites such as Defendant’s Website.

         49.     Plaintiff uses his computer as a method of conveyance of his personal information.

  Plaintiff thus stores his personal information and retains his browsing history on his computer .

         50.     Throughout the Website, Defendant has placed forms of software to collect non-

  public information on the Website’s user’s preferences and internet browsing habits.

         51.      Defendant informs the Website user that the user’s personal information and

  browsing history is collected and is used for targeted marketing and advertising.

         52.     Because of his blindness, Plaintiff was unable to comprehend the Website;

  therefore, Plaintiff has had no choice, and likewise no knowledge, of Defendant’s installation of

  data and information tracking software and the collection of the Website user’s browsing history

  and analytics placed on the user’s computer.




                                                  10
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 11 of 20




         53.     Based upon the review of the Website, when a user accesses the Website, Defendant

  places software on the Plaintiff’s personal computer, without the user’s advance consent or

  knowledge. It is also clear that Defendant has used browser cookies to identify websites that

  Plaintiff has previously visited by accessing Plaintiff’s web browser history.

         54.     As such, through its Website, Defendant has committed a trespass against the

  Plaintiff, since the Website places information gathering software on the Plaintiff’s computer

  without Plaintiff’s knowledge or consent.

                             COUNT I – VIOLATION OF THE ADA

         55.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

         56.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

  the ADA because it owns and/or operates the Website, as defined within §12181(7)(E) and is

  subject to the ADA.

         57.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

  because it provides the general public with the ability to locate Defendant’s physical stores,

  purchase merchandise that is available in the physicals stores, purchase gift cards for use in the

  physical stores, and sign up for an electronic emailer to receive offers, benefits, exclusive

  invitations, and discounts for use at the physical stores. The Website thus is an extension of,

  gateway to, and intangible service, privilege, and advantage of Defendant’s physical stores.

  Further, the Website also serves to augment Defendant’s physical stores by providing the public

  information on the various physical locations of the stores and by educating the public as to

  Defendant’s available merchandise sold through the Website and in its physical stores.

         58.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an



                                                   11
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 12 of 20




  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

         59.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

         60.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

         61.     Defendant’s Website must comply with the ADA, but it does not as specifically

  alleged hereinabove and below.

         62.     Because of the inaccessibility of the Website, individuals with disabilities who are

  visually disabled are denied full and equal enjoyment of the information and services that

  Defendant has made available to the public on its Website, and at its physical stores, in violation

  of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

         63.     The Website was subsequently visited by Plaintiff’s expert in August 2020, and the

  expert determination was that the same access barriers that Plaintiff had initially encountered, as



                                                   12
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 13 of 20




  well as numerous additional access barriers, existed, and that Defendant had made no material

  changes or improvements to the Website to enable its full use, enjoyment, and accessibility for

  blind and visually disabled persons such as Plaintiff.    Defendant also has not disclosed to the

  public any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to

  visually disabled individuals. In addition, when the Website was visited by the expert, it was

  revealed that although the Website appeared to have an “accessibility” statement on its home page,

  that “accessibility” statement still could not be effectively used or accessed by, and continued to

  be a barrier to, blind and visually disabled persons such as Plaintiff. Defendant thus has failed to

  make reasonable modifications in its policies, practices, or procedures when such modifications

  are necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective

  “accessibility” notice, policy, or statement and the numerous access barriers as set forth in the

  Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite Exhibit “A” and

  the contents of which are incorporated herein by reference, continue to render the Website not

  fully accessible to users who are blind and visually disabled, including Plaintiff.

          64.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.

          65.     Further, the Website does not offer or include the universal symbol for the disabled

  that would permit disabled individuals to access the Website’s accessibility information and

  accessibility facts.

          66.     There are readily available, well established guidelines on the internet for making

  websites accessible to the blind and visually disabled. These guidelines have been followed by

  other large business entities in making their websites accessible. Examples of such guidelines



                                                   13
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 14 of 20




  include, but not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible

  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to the Defendant.

         67.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

  access to the Website by individuals, such as Plaintiff, with visual disabilities who requires the

  assistance of interface with screen reader software to comprehend and access internet websites.

  These violations within the Website are ongoing.

         68.     The ADA and ADAAA require that public accommodations and places of public

  accommodation ensure that communication is effective.

         69.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

  specifically states that screen reader software is an effective method of making visually delivered

  material available to individuals who are blind or have low vision.

         70.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

         71.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.



                                                   14
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 15 of 20




         72.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         73.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website, with a nexus to its brick and mortar physical stores locations, Plaintiff has

  suffered an injury in fact by being denied full access to and enjoyment of Defendant’s Website

  and physical stores.

         74.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

         75.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief; including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Website to a statement as to the Defendant’s

  policy to ensure persons with disabilities have full and equal enjoyment of the services, facilities,

  privileges, advantages, and accommodations through the Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by visually disabled users, and during that time period prior to the Website’s being

  readily accessible, to provide an alternative method for individuals with visual disabilities to access

  the information available on the Website until such time that the requisite modifications are made,

  and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual impairments will be able to effectively communicate with the Website for purposes of



                                                    15
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 16 of 20




  viewing and locating Defendant’s physical stores and locations, and becoming informed of and

  purchasing Defendant’s merchandise online, and during that time period prior to the Website’s

  being designed to permit individuals with visual disabilities to effectively communicate, to provide

  an alternative method for individuals with visual disabilities to effectively communicate for such

  goods and services made available to the general public through the Website.

         76.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website is in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to update the Website, and continue

               to monitor and update the Website on an ongoing basis, to remove barriers in order that

               individuals with visual disabilities can access, and continue to access, the Website and

               effectively communicate with the Website to the full extent required by Title III of the

               ADA;

         C. An Order requiring Defendant, by a date certain, to clearly display the universal

               disabled logo within the Website, wherein the logo1 would lead to a page which would

               state Defendant’s accessibility information, facts, policies, and accommodations. Such




  1
                       or similar.

                                                   16
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 17 of 20




           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform

           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        I. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Website to identify any

           instances where the Website is no longer in conformance with the accessibility

           requirements of the ADA and any applicable accessibility guidelines, and further



                                                17
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 18 of 20




               directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

               counsel for review;

         J. An Order directing Defendant, by a date certain, to make publicly available and directly

               link from the Website homepage, a statement of Defendant’s Accessibility Policy to

               ensure the persons with disabilities have full and equal enjoyment of the Website and

               shall accompany the public policy statement with an accessible means of submitting

               accessibility questions and problems;

         K. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses; and

         L. Such other and further relief as the Court deems just and equitable.

                                       COUNT II – TRESPASS

         77.      Plaintiff re-alleges paragraphs 1 through 54 as if set forth fully herein.

         78.      Plaintiff’s tangible personal property, being his computer          and the personal

  information and browsing history stored therein, has suffered a trespass by Defendant on each and

  every date that the Plaintiff has accessed Defendant’s Website, due to Defendant’s employment of

  software analytics which are present on and through the Website, which the Plaintiff has navigated.

         79.      At all relevant times, Plaintiff did not consent to and was unaware that the Website

  was placing software on his computer due to his inability to effectively communicate with and

  fully view and access the Website.

         80.      Plaintiff did not consent to the placement of tracking and information securing

  software on his computer ; therefore, Defendant has committed a trespass against Plaintiff by

  placing such software on his computer without his knowledge or consent.




                                                    18
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 19 of 20




         81.      By the acts described hereinabove, Defendant has repeatedly and persistently

  engaged in trespass of Plaintiff’s personal property in violation of Florida common law against

  trespass.

         82.      Defendant’s installation, operation, and execution of software on Plaintiff’s

  computer have directly and proximately impaired the condition and value of the Plaintiff’s

  computer , thereby causing Plaintiff damages.

         83.      The Website has a “Privacy Policy” that discusses the automatic gathering of

  information from, and the automatic placement of cookies and other information gathering

  software on, computers and electronic devices of users of the Website such as Plaintiff. A copy

  of that “Privacy Policy” is attached hereto as Exhibit “B” and its contents are incorporated herein

  by reference.

         84.      Defendant’s trespass to chattels, nuisance, and interference has caused real and

  substantial damage to Plaintiff as follows:

         a)    By consuming the resources of and/or degrading the performance of Plaintiff’s

  computer (including space, memory, processing cycles, and internet connectivity);

         b) By infringing on Plaintiff’s right to exclude others from his computer;

         c) By infringing on Plaintiff’s right to determine, as the owner of his computer, which

  programs should be installed and operated on his computer;

         d) By compromising the integrity, security, and ownership of Plaintiff’s computer ; and

         e) By forcing Plaintiff to expend money, time, and resources in order to remove the

  programs that had been installed on his computer without notice or consent.

         85.      Defendant’s actions were taken knowingly, willfully, intentionally, and in reckless

  disregard for Plaintiff’s rights under the law.



                                                    19
Case 1:20-cv-24614-PCH Document 1 Entered on FLSD Docket 11/10/2020 Page 20 of 20




         WHEREFORE, Plaintiff demands a judgment be entered against Defendant for all of

  Plaintiff’s compensatory damages, interest, costs, and such further relief as the Court deems just

  and equitable.

         DATED: November 10, 2020.


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